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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KIRK MICHAEL FIELDS,                  :       PRISONER CIVIL RIGHTS
Inmate No. 99001885,                  :
                                      :       42 U.S.C. § 1983
      Plaintiff,                      :
                                      :       CIVIL ACTION NO.
v.                                    :       1:22-CV-3684-LMM-JKL
                                      :
GWINNETT COUNTY POLICE                :
OFFICER HOWSE; et al.,                :
                                      :
      Defendants.                     :

               DEFENDANT DAVID SMITH’S MOTION TO
             DISMISS BY INCORPORATION BY REFERENCE

      COMES NOW Defendant David Smith, by and through counsel, and moves

this Court to dismiss the case against him, by incorporation by reference showing

the Court the following:

                           MEMORANDUM IN SUPPORT

      Defendant Howse recently filed a Motion to Dismiss, Docs. 14, 14-1, attached

hereto as Exhibit A. Federal Rule of Civil Procedure 10(c) provides that a statement

in a pleading may be adopted by reference elsewhere in any other pleading or

motion. See, IOU Central Inc. v. Big State Tire and Axle, Inc., 2020 WL 6588742

(N.D. Ga. 2020); GEICO v. KLJ Chiropractic Center, LLC, 2016 WL 7229119

(M.D. Fla. 2016).     Defendant Smith specifically adopts and incorporates by


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reference the entirety of Exhibit A. Defendant Smith respectfully requests that this

Court grant his motion to dismiss in this case.

      Respectfully submitted this 31st day of July, 2023.


                                       /s/ Elizabeth B. Taylor
                                       ELIZABETH B. TAYLOR
                                       Senior Assistant County Attorney
                                       Georgia Bar No. 699920
                                       elizabeth.taylor@gwinnettcounty.com

                                       Attorney for Defendants Howse and Smith


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(770) 822-8700




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KIRK MICHAEL FIELDS,                     :       PRISONER CIVIL RIGHTS
Inmate No. 99001885,                     :
                                         :       42 U.S.C. § 1983
         Plaintiff,                      :
                                         :       CIVIL ACTION NO.
v.                                       :       1:22-CV-3684-LMM-JKL
                                         :
GWINNETT COUNTY POLICE                   :
OFFICER HOWSE; et al.,                   :
                                         :
         Defendants.                     :

                        CERTIFICATE OF COMPLIANCE

         Pursuant to Local Rue 7.1(D), I hereby certify that the foregoing has been

prepared in compliance with Local Rule 5.1(B)in 14-point Times New Roman type

face.

         Respectfully submitted this 31st day of July, 2023.

                                         /s/ Elizabeth B. Taylor
                                         ELIZABETH B. TAYLOR
                                         Senior Assistant County Attorney
                                         Georgia Bar No. 699920
                                         elizabeth.taylor@gwinnettcounty.com

                                         Attorney for Defendants Howse and Smith

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               IN THE UNITED STATES DISTRICT COURT
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KIRK MICHAEL FIELDS,                   :       PRISONER CIVIL RIGHTS
Inmate No. 99001885,                   :
                                       :       42 U.S.C. § 1983
      Plaintiff,                       :
                                       :       CIVIL ACTION NO.
v.                                     :       1:22-CV-3684-LMM-JKL
                                       :
GWINNETT COUNTY POLICE                 :
OFFICER HOWSE; et al.,                 :
                                       :
      Defendants.                      :

                         CERTIFICATE OF SERVICE

This is to certify that I have this day served plaintiff with a copy of the foregoing

DEFENDANT DAVID SMITH’S MOTION TO DISMISS BY INCORPORATION

BY REFERENCE via the Court’s CM/ECT System, which will automatically send

electronic mail notification of such filing to counsel of record who are CM/ECF

participants, and first-class regular mail in a properly addressed envelope to the

following address:

                                Paul G. Wersant
                       3245 Peachtree Parkway, Suite D-245
                             Suwanee, Georgia 30024
                              pwersant@gmail.com

                         (Signature on the following page)




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     Respectfully submitted this 31st day of July, 2023.


                                     /s/ Elizabeth B. Taylor
                                     ELIZABETH B. TAYLOR
                                     Senior Assistant County Attorney
                                     Georgia Bar No. 699920
                                     elizabeth.taylor@gwinnettcounty.com

                                     Attorney for Defendants Howse and Smith


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                                                    EXHIBIT A
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